         CF 543



                                                        PROGRESSIVE
      December 27, 2018                          Progressive Select Insurance Company
                                                 Maitland Claims Office
                                                 901 N. Lake Destiny Road, Suite 200
                                                 Maitland, FL 32751

  Paul Perkins, Esq.                              7                ee                            eae
  Paul&Perkins, PLA.
  711 N. Orlando Avenue, Suite 202
  Maitland, FL 3275]
  Fax: (407) 540-0510


  Re:      Our Insured:         Angela Maria Seda Borrero
           Claim Number:        XX-XXXXXXX
           Date of Loss:        10/1/2018
           Your Client:         James Spalding
           Case:                2018-CA-12326-0 / Spalding vs. Borrero
 Dear Mr. Perkins:


 I left you a message on December 5", mailed you a letter on December 6™., and left you a message today
 requesting a call to discuss resolution of your client’s property damage claim(s). I understand Moto Lease has
 the loan on your client’s motorcycle, so I wanted to clarify your current demand to settle the property damage
 claim(s). Ifyou could please return mycall, it would be greatly appreciated.
Sincerely,



Jason Gray
Claims Specialist Lead
407-618-8702
Fax: 407-618-8836

Ce:      David Evelev, Esq.
         Angela Maria Seda Borrero




                                                                                         Exhibit L
